  8:13-cr-00138-LSC-TDT                Doc # 40       Filed: 05/15/13        Page 1 of 1 - Page ID # 59



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                )
                                                         )                     8:13CR138
                          Plaintiff,                     )
                                                         )
        vs.                                              )                       ORDER
                                                         )
DANNY JUNIOR BRAVO and                                   )
LETICIA ANGELA DESMAN,                                   )
                                                         )
                          Defendants.                    )


        This matter is before the court on the motions for an extension of time by defendants Danny Junior
Bravo (Bravo) (Filing No. 38) and Leticia Angela Desman (Desman) (Filing No. 37). Bravo and Desman seek

additional time in which to file pretrial motions in accordance with the progression order. Bravo and Desman

have filed an affidavit wherein they consent to the motion and acknowledge they understand the additional time
may be excludable time for the purposes of the Speedy Trial Act. It is represented that government's counsel
has no objection to the motions. Upon consideration, the motions will be granted.


        IT IS ORDERED:

        Defendant Bravo's and Desman's motions for an extension of time (Filing Nos. 38 and 37) are granted.
Bravo and Desman are given until on or before July 1, 2013, in which to file pretrial motions pursuant to the

progression order. The ends of justice have been served by granting such motions and outweigh the interests
of the public and the defendants in a speedy trial. The additional time arising as a result of the granting of the

motions, i.e., the time between May 15, 2013, and July 1, 2013, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendants' counsel require
additional time to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(7)(A) & (B).


        DATED this 15th day of May, 2013.
                                                              BY THE COURT:

                                                              s/ Thomas D. Thalken
                                                              United States Magistrate Judge
